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                            UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF OHIO
                                  EASTERN DIVISION


                                             )       CASE NO.       1:96 CR 403
UNITED STATES OF AMERICA,                    )
                                             )
               Plaintiff,                    )       JUDGE DONALD C. NUGENT
                                             )
       v.                                    )
                                             )
MICHAEL GOLDSBY,                             )       MEMORANDUM OPINION
                                             )       AND ORDER
               Defendant.                    )



       This matter comes before the Court upon Defendant’s motion to reduce sentence based

on The Sixth Circuit’s holding in United States v. Blewett, __ F.3d __, 2013 WL 2121945 (6th

Cir., May 17, 2013). (ECF # 493). On December 3, 2013, the Sixth Circuit decided and filed an

en banc opinion reconsidering the prior decision. The en banc panel held in United States v.

Blewett, ___ F.3d ___, 2013 WL 6231727, *2-3 (6th Cir. Dec. 3, 2013) that the Fair Sentencing

Act’s new mandatory minimums do not apply retroactively to defendants who were sentenced

prior to the FSA’s effective date. This holding was found to be “[c]onsistent with a 142-year-old

congressional presumption against applying reductions in criminal penalties to those already

sentenced,” consistent with 1 U.S.C. § 109, consistent with the views of a unanimous Supreme

Court as articulated in Dorsey v. United States, 132 S.Ct. 2321, 2332 (2012), “consistent with the

decisions of every other court of appeals in the country, and consistent with dozens of [the Sixth

Circuit’s] own decision.” Further, the Court held that the failure to apply the mandatory

minimums retroactively does not violate the United States Constitution, and § 3582(c)(2) of the

Sentencing Reform Act of 1984 does not provide a valid means of circumventing this
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interpretation. As the Defendant in this case has sought relief based solely on the holding of the

prior Blewett case, and that decision has been emphatically overturned by the en banc panel,

Defendant is not entitled to the relief sought and his motion (ECF # 493) is hereby denied. IT IS

SO ORDERED.




                                                     /s/ Donald C. Nugent
                                                     DONALD C. NUGENT
                                                     United States District Judge

DATED: January 6, 2014




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